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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               NO. CR. S-08-0093 FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE THE STATUS
          v.                        )               CONFERENCE TO MONDAY
12                                  )               OCTOBER 5, 2009
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorneys Ms. Ellen Endrizzi and Mr. Matthew C. Stegman
18   and the defendants (hereinafter referred to as the defendants): 1)Charles Head,
19   represented by attorney Mr. Scott Tedmon; 2)Jeremy Head, represented by attorney
20   Christopher Hayden-Myer; 3)defendant Leonard Bernot, represented by attorney Mr.
21   Bruce Locke; 4)defendant; defendant Joshua Coffman, represented by attorney Mr.
22   John Balazs; 5)defendant John Corcoran, represented by attorney, Mr. Matthew
23   Bockmon; 6)defendant Sarah Mattson, represented by attorney, Mr. Steven Bauer;
24   7)defendant Omar Sandoval, represented by attorney Mr. Michael Bigelow;
25   8)defendant Xochitl Sandoval, represented by attorney Ms. Candace Fry; 9)defendant
26   Eduardo Vanegas, represented by attorney, Mr. Robert Peters; 10)defendant Justin
27   Wiley, represented by attorney, Mr. Clyde Blackmon; 11)defendant Kou Yang,
28                                              1
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 1   represented by attorney, Mr. Joseph Low, IV; and 12)defendant Domonic McCarns,
 2   represented by attorney, Mr. James R. Greiner, hereby agree and stipulate that the
 3   current date for the status conference, Monday, June 15, 2008, is hereby vacated and
 4   can be rescheduled for Monday, October 5, 2009, at 10:00 a.m. in Courtroom #2
 5   before the Honorable District Court Judge, Frank C. Damrell, Jr..
 6          Further, all of the parties, the United States of America and all of the defendants
 7   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 8   excluded under Title 18 section 3161(h)(8)(b)(ii) and section 3161(h)(B)(B)(iv),
 9   corresponding to Local code T-2 (the complexity of the case) and Local Code T-4 (to
10   allow counsel time to prepare).
11          The government has provided in excess of 190,000 pages of discovery in this
12   case (the government just recently produced approximately 173,000 pages of
13   discovery). There is still additional discovery to be produced by the government. The
14   parties agree that the defense needs time to review the discovery, to review the
15   discovery with the defendants, and to continue investigation in the case. The parties
16   agree and stipulate that the interests of justice in agreeing and stipulating to this
17   continuance outweighs other interests in this case for a speedy trial in this case.
18          The Court’s Courtroom deputy, Ms. Michele Krueger, was contacted to ensure
19   the Court was available on this date and the Court is available. There is no trial date
20   set.
21          Respectfully submitted:
22                                     LAWRENCE G. BROWN
                                       ACTING UNITED STATES ATTORNEY
23
                                       /s/ Ellen Endrizzi, by telephone authorization
24
     DATED: 6-10-09                    _____________________________________
25                                     Ellen Endrizi and Matthew C. Stegman
                                       ASSISTANT UNITED STATES ATTORNEYS
26                                     ATTORNEYS FOR THE PLAINTIFF
27
28                                                2
       Case 2:08-cr-00093-KJM Document 263 Filed 06/10/09 Page 3 of 4


 1   DATED: 6-10-09
                                 /s/ Scott Tedmon by e mail authorization
 2                               ______________________________________
                                 Scott Tedmon
 3                               Attorney for Defendant Charles Head
 4   DATED: 6-10-09              /s/ Christopher Hayden-Myer by telephone
                                 authorization
 5                               _______________________________________
                                 Christopher Hayden-Myer
 6                               Attorney for Defendant Jeremy Head
 7   DATED: 6-10-09              /s/ Bruce Locke by e mail authorization
                                 _____________________________________
 8                               Bruce Locke
                                 Attorney for Defendant Leonard Bernot
 9
     DATED: 6-10-09              /s/ John Balazs by telephone authorization
10                               ______________________________________
                                 John Balazs
11                               Attorney for Defendant Joshua Coffman
12   DATED: 6-10-09              /s/ Matthew Bockmon by e mail authorization
                                 ______________________________________
13                               Matthew Bockmon
                                 Attorney for Defendant John Corcoran
14
     DATED: 6-10-09              /s/ Steven Bauer by e mail authorization
15                               ____________________________________
                                 Steven Bauer
16                               Attorney for Defendant Sarah Mattson
17   DATED: 6-10-09              /s/Michael Bigelow by telephone authorization
                                 ________________________________________
18                               Michael Bigelow
                                 Attorney for Defendant Omar Sandoval
19
     DATED: 6-10-09              /s/ Candace Fry by telephone authorization
20                               ______________________________________
                                 Candace Fry
21                               Attorney for Defendant Xochitl Sandoval
22   DATED: 6-10-09              /s/ Robert Peters by telephone authorization
                                 _____________________________________
23                               Robert Peters
                                 Attorney for Defendant Eduardo Vanegas
24
     DATED: 6-10-09              /s/ Clyde Blackmon by e mail authorization
25                               ______________________________________
                                 Clyde Blackmon
26                               Attorney for Defendant Justin Wiley
27
28                                         3
       Case 2:08-cr-00093-KJM Document 263 Filed 06/10/09 Page 4 of 4


 1   DATED: 6-10-09              /s/ Joseph Low, IV by e mail authorization
                                 ______________________________________
 2                               Joseph Low, IV
                                 Attorney for Defendant Kou Yang
 3
     DATED: 6-10-09              /s/ James R. Greiner
 4                               ___________________________________
                                 James R. Greiner
 5                               Attorney for Defendant Dominic McCarns
 6
 7
 8
 9                                     ORDER
10
11
12        FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
13
14
     DATED: June 10, 2009
15
16                               ___________________________________
                                 FRANK C. DAMRELL, JR.
17                               UNITED STATES DISTRICT JUDGE
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